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CZ‘SE ntmber: -19_1[]128_1»§ m ChECK ll ll'lE-$: lS an
_"""__ amended filing

 

Ollicial Form 42-5©

 

Moui:hly Oper'ating Re_port for Smal| Blusi\ness' Unde-r Chapter* 1 “l 12!1?
l\)‘lonth'_ /’12 "-'Fr;`/"/‘(? c;)‘{':?/-;C/j Elale report fiiad; UL!Z/ZZ»§§§E§

Mlv'l FDD I YY\’Y

 

  
 

Line ot't)usiness: -"J ./'/;q J.. NAISC code:

|n accordance with title ZB, section 1746, of the Unitec! $tates Code, l declare under penalty of perjury
that[ have examined the following small business monthly operating repo_rt`and` the accompanying ‘
attachments andy to the best of my knowledge these documents are true, correct, and complete

Resnnosihte pany: d
/" y'/'/':/»
Uriginal signature of responsible pany rf //’§/:‘Z/

J?' ~ . ‘
Pnnled name of responsible party /:’; / 7(:';,,[ §//4' /

§/

 

 

"| . Questionnaire

 

 

Answe'r all questions on behalfol the debtor for the period covered by this reportl unless otherwise indicated.

 

 

Yes No NIA

if you answer N`o to any of the questions In lines 'I~El, attach an explanation and label ll:Exhibit A'.
‘L. Did the business operate during the entire reporting period? g m i;|
2\ 00 you plan lo conllnue to operate the business next month'? :El 0 m
3. Have you paid all cl your bills on tlme? m 0 0
»1 lJi-d you pay your employees on time'? d El Cl
5 l-iave you deposited ali the receipts for youzn business into debtor in possession {DlF') accounts‘i' jj n m
6 l-tave you timely filed your tax returns and paid all of your taxes'? _~Z] Cl l;l
7» Have you timely filed ali other required government rilings? li U l;l
8 Are you current on your quarterly fee payments to :he U‘S. Trustee or Banl<rup_tcy Adminisuatool E"\ m m
9 Hay_e you timely paid all of your insurance pr'emiun\s'? i“ El n

if you answer Yes to any of the questions in lions 10-18, attach a`n explanation and label it Exhr'l`zr‘¢ B,. _
lu. Do you have any bank accounts open other than the D|P accounts? n EH` Cl
‘\ l. Have you sold any assets other than inventory'i Cl il m
iE. t~lave you acid or transferred any assets or provided services to anyone related to the DlP in any way'? l;l `é" l:l
13_ Did any insurance company cancel your policy? l;l vi l:l
td. Did you have any unusual or significant unanticipated expenses'? n r1 Cl
tS_ rtave you borrowed money from anyone or has anyone made any payments on your behalf'? Cl `@‘ l:l
re bias anyone made an investment in your business'? l:l 1- l:l

 

Monthiy Clperating Report for Small Business Undcr Chapter 11 page 1

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gamer blame Rader |_Odge, §l"lC. ease numbe( 19~10'128“1 l

 

 

17, _Hove you paid any bilts you owed before you_`li§ed _bankruptcy‘?

iE\ Have you allowed any checks to clear the banlc` that Were issued before you Hled bankntptcy'?

[JE
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2. Summary of Cash Ac.t_iviity for All Accounts

 

19. Total opening balance of all accounts

This' amount must equa.l]what you reported as the cash on hand at the end of the month\in the previous
month. lfthis is your tirst report report the total cash on hand as of the date of the filing of this case

l"_‘l
‘C>

Total` cash receipts

Attach a listing of all cash received for the month and label it Exhr`br`t C. include ali
cash received even it you have not deposited it at the banl<, collections on
receivablesl credit card deposits cash received from other parties, or loans, gifts or`
payments made by other parties on your behall. Do not attach bank statements fn
lieu ct E)rhr't)r't C.

s §F["/E 37¢[?7)(}“

" .1. »3 '
R€Dort the total from Exhibr`l' C here, S 135 g alj §§ (“ f

2"\` Total cash disbursements

Attach a listing of all payments you_rnade in the month and label it E)rhfbtt D. List the
date paidE payee purpose and amount include all cash paymentsl debit card
transactions checks issued even it they have not cleared the banl<. outstanding
checks issued before the bankruptcy was filed that were allowed to clear this month,
and payments made by other parties on your l)ehah‘. Do not attach bank statements

rules attachineri _$ /_§§l § jj l{ 61

Re'oort the total from E,\'lrr`br’t D here

v Net cash flow

f*J
l‘-J

Subtract line 21 from line 2d and report the result here_
Thi`s amount may be different from vrhat you may have calculated as nar profit

23§ Casn on hand at the end ofthe month
£\dd line 23 + line tEl. Report the result here
Report this ngure as the cash "on hand at tire beginning of the month on your next operating report

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit

 
 

3, U.np,ai`d Bills

 

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Attac`h a list of all debts {including taxes} which you have incurred since the date you lilec| bankruptcy but
have not paid‘ [_abei`it Exhlbit E. lnclude the date the debt was inourredi_who is owed the money1 the
purpose ot the debt, and when the debt is due Report the total from E`xhr`br"t E he-re.

 

F)u
24h Totai payabfes $ t’,
(Exhr`bit E,l
Dlnci_al_Forrn 4250 Monthly Operating Roport for Smail Buslness Undar Chapter 11 page 2

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4. Money Owed to You

Attach a list ot ali amounts owed to you by your customers for'worl< you have done or merchandise you
have sold. include amounts-owed to you both before and after you pled bankruptcy Labei it Exhr‘br‘i F_
identity who owes you money, how much is owed, and when payment is due. Report the total from
Exhr'bi`i F here.

_ Total receivables 5 ___(’)__

('Exhi`bi`i F}

 

 

5. Employees

o l ‘.r‘¢'hat was the number of employees when the case was h|ed'? f

' . ‘a'\.-‘lwat is the number of employees as of the date of this monthly report? f

f 6, F'rofessionai`Fees

 

, How much have you_paid this month in professional fees related to this bankruptcy casey 5 _

. i-low much have you paid in professional fees related lo this bankruptcy case since the case was iiied'? 5

. Ho’.v much have you paid this month in other professional fees'? 3
How much have you paid in total other professional fees since filing the case? S

 

?. Projections

 

Compare your actual cash receipts and disbursements to what you projected in the previous month
F'ro;`ected tigures in the lirst month should match those provided al the initial debtor inierview. if any

 

 

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'Proie`c`ted - Actuai = Difference

copy lines 35~3? com Cop_y lines 2022 or subtract cuiumn a
the previous months this report from Column A.
report » -‘ »‘

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32 Cash receipts ‘ - §;.~. _
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33_ Cash disburseznentslwic’w) 5 `Hor’l.!> "'“ SL?.Q_;’?_,Q~>\L § if -l:f?§\‘{'i/€

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s tissue cm _ _ /£Wi 1 _ ___ _ /' ___r l -L- l

, _ ‘Q~‘faei/
35 Tctal protected cash recelpis for the next monlh:' 5 NL~___
iii Tclal protected cash disbursements for the next monih'. ~ S_mlfz 551/15
3?_ total projected net cash flow for the next month: = s _{é[/§,;§"__ 59
..?F; Form 4256 Monthly Opersting Reportfor Srnalt Elusiness Uncler Chaptor 11 page 3

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Debtor itan\e R'ad€l' LCldQE. ll`\C. Case number 19'?0128'13

 

B. Additional information

 

 

lt availab|e, chect< the box to the left end attach copies ot the following documents

E{E.li Bant< statements lot each open account (redact ali butthe last 4 digits ot account numbersl`.
39. Banl< reconciliation reports for each account

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é]/M_ Buciget, projectio`n, or forecast reports

321/ill Froiec`t_ job costlng_ orworlt“in-progress reports

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Case 19-10128 Doc# 61 Filed 04/22/19 Page 4 of 12

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